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                                                                        January 19, 2024
VIA ECF
The Honorable Lewis A. Kaplan, U.S.D.J.
United States District Court
Southern District of New York
Daniel Patrick Moynihan
500 Pearl Street
New York, New York 10007

       Re:     Carroll v. Trump
               Civil Case No.: 1:20-cv-7311-LAK-JLC

Dear Judge Kaplan:

         This office represents President Donald J. Trump in the above-referenced action. The
instant letter application is submitted to renew a demand for a mistrial; or, in the alternative, that
Plaintiff be precluded from seeking damages relating to death threats purportedly made to her and
all testimony related to same be stricken from the record; or, in the alternative, that the Court
include an adverse inference charge against Plaintiff relating to her willful violation of her
discovery obligations and the spoliation of relevant evidence.

        As Your Honor is aware, during cross-examination on January 17, 2024, Plaintiff, E. Jean
]\Carroll (“Plaintiff”) was specifically asked about the deletion of e-mail messages which bear
direct relevance to the instant action. In response, Plaintiff admitted that she deleted multiple e-
mail messages pertaining to purported death threats made to her. The pertinent trial testimony
provided by Ms. Carroll on this issue is set forth below:

               Q. Now, you said you received threatening messages in your
               testimony today, correct.
               A. Yes.
               Q. And you deleted those messages.
               A. Yes.
               Q. And do you know what happens when you delete a message
               from your inbox?
               A. It goes into the trash in my computer, and then the trash
               is emptied automatically every 30 days, I think.
               Q. Did you ever delete the e-mails from the trash section of
               your e-mail?
               A. I probably did.



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               Q. So your testimony is that you deleted the messages and then
               they went to the trash and then you went into the trash and
               deleted the trash as well, correct?
               A. I didn't go into the trash, I just periodically empty my trash in
               my computer because it's an old computer and tends to
               slow down if I have a lot in the trash.
               Q. Did you stop deleting these threatening messages at any
               point, Ms. Carroll?
               A. Yes.
               Q. What was that point?
               A. Actually, I went on deleting most of the replies. I
               stopped right around the second lawsuit. The one in May, I
               stopped.
               Q. The first trial we had was when you stopped deleting them?
               A. Well, no.
               Q. That is correct?
               A. I don't remember deleting any around that time or since
               then.
               Q. I'm confused, Ms. Carroll. You stated in your testimony
               today that you received death threats daily, correct?
               A. Not daily, but often.
               Q. Often, OK. And you deleted those messages all until you were
               in the middle of trial, is that your testimony today?
               A. No.
               Q. So please explain to me what you meant by that.
               A. I –
               THE COURT: Explain what she meant by what?
               BY MS. HABBA:
               Q. When did you stop deleting the death threats?
               A. I generally got rid of many of the replies on Twitter and
               on Facebook. I would just delete, delete, delete. I did not
               delete my post, but I deleted the replies. I hadn't realized
               how many death threats there were in my private messages.
               Q. Ms. Carroll, my question is, when did you stop deleting
               them, the messages that you just spoke about?
               A. Probably 2023.
Trial tr. 231:10–233:8.


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        Based upon the above-referenced trial testimony, Plaintiff’s admission to the deletion of e-
mail correspondences clearly related to this litigation is in direct contravention of Fed. R. Civ. P.
37(e). Rule 37(e) requires that all electronically stored information should be “preserved in the
anticipation or conduct of litigation.” See Fed. R. Civ. P. 37(e).

        Plaintiff acknowledged, under oath, that she violated Rule 37(e). Despite being served with
a subpoena in connection with this action, Plaintiff failed to take reasonable steps to preserve
relevant evidence. In fact, she did much worse – she actively deleted evidence which she now
attempts to rely on in establishing her damages claim. Accordingly, it is beyond dispute that
Plaintiff’s failure to comply with Rule 37(e) has caused significant prejudice to President Trump.

       A. Request for Mistrial

        President Trump renews his request previously placed on the record for a mistrial for this
matter, which is set forth below:

               Your Honor, at this moment, I feel I have to ask for a mistrial. The
               witness has just admitted to deleting evidence herself, which are part
               of her claim of damages, and I haven't seen them. She has no
               evidence of them. She hasn't turned them over.

Trial tr. 236:21-25.

        Where, as here, the nature of the alleged breach of a discovery obligation is the non-
production of evidence, a district court has broad discretion in fashioning an appropriate sanction,
including the discretion to delay the start of a trial (at the expense of the party that breached its
obligation), to declare a mistrial if trial has already commenced, or to proceed with a trial and give
an adverse inference instruction. See Reilly v. Natwest Markets Group Inc., 181 F.3d 253, 267 (2d
Cir.1999) (“Whether exercising its inherent power, or acting pursuant to Rule 37, a district court
has wide discretion in sanctioning a party for discovery abuses.”). This is a defamation action, and
the ongoing trial is centered solely around Plaintiff’s claims for damages. A significant component
of her claim stems from the death threats Plaintiff purportedly received after President Trump
issued his first denial on June 21, 2019. Specifically, Plaintiff testified as follows:

               My brain just froze. So to make myself feel good, I went to my Ask
               E. Jean website thinking that I would feel better if I could read some
               support. And I opened it up, and, yes, there was a really lovely email,
               you know, saying, "You go girl." And then I opened up the next Ask
               E. Jean letter, and I looked at it, I read it, and I ducked. Because the
               image of what the person said caused me to believe that it was going
               to happen right now. I thought I was going to get shot. And what the
               hard part was, I couldn't get the curtain across the window closed. I
               was sitting in a room with an open window at 11:30 at night. And
               it's -- when you see the words, the image comes into my mind, and




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                I believed it was happening right now. So I deleted the message to
                protect myself.

Trial tr. 127:7-19.

       As stated above, Plaintiff recounted to the jury that she received vicious death threats on
June 21, 2019, which she directly attributed to President Trump’s June 21, 2019 statement. And
she sought to substantiate her claim for emotional harm by describing how she felt like an attack
would happen “right now” and that her heart would race, however, it cannot be established that
these messages existed at all, since Plaintiff deleted them. See Trial tr. at 129:21-25. See also id.
at 128:25-129:1 (“I just delete, delete, delete.”)

        Even assuming the messages did exist, the question of when they were sent is material and
pertinent to President Trump’s defense. One of the consistent themes throughout trial has been the
lack of a causal link between President Trump’s June 21 and June 22 statements and the damages
that Plaintiff claims to have incurred. Particularly, there is a five-hour window between the time
The Cut article was released and when President Trump issued his first denial, both of which
occurred on June 21, 2019. Plaintiff claims to have received at least two death threats on that same
date, which she subsequently deleted. See Trial tr. at 128:7-9. Plaintiff testified that she did not
recall what time the messages were sent to her, See Trial tr. at 351:10-12; and, since the messages
have been deleted, this information is unknowable.

         Critically, if the June 21, 2019 death threats had been issued during that five-hour
window—before President Trump ever spoke about Plaintiff—it would conclusively establish that
those death threats are not attributable to President Trump’s statements. This fact would also
severely undercut any argument that subsequent death threats are attributable to President Trump’s
statements, since Plaintiff was receiving similar messages in the immediate aftermath of The Cut
article being published.

        In sum, it is clear from the trial testimony set forth above that Ms. Carroll sought to
circumvent the Federal Rules of Civil Procedure by not only failing to preserve evidence, but by
knowingly deleting e-mail messages that purportedly contained death threats against her. This is a
procedural irregularity that is not only appropriate for the Court to grant a mistrial, but it is essential
under the circumstances. Plaintiff’s failure to preserve this purported evidence—in contravention
of the Federal Rules of Civil Procedure—severely prejudices the President Trump’s defense since
he has been deprived of critical information relating to critical evidence which Plaintiff has
described to the jury.

        As such, President Trump respectfully renews its request for Your Honor to declare a
mistrial.

        B. Preclusion of Damages Claimed for Purported Death Threats to Plaintiff

       As part of her claim for damages in the case at bar, Plaintiff testified at trial on January 17,
2024 that she received numerous death threats in e-mail messages sent to her. The following are
relevant portions of Plaintiff’s trial testimony on this specific issue.



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               Q. Ms. Carroll, when was the first time that you publicly
               revealed that you had been receiving -- that you have received
               death threats?
               A. At the last trial in May.

Trial tr. 144:13-16.

               Q. Were you also receiving death threats, Ms. Carroll.
               A. Yes.

Trial tr. 149:12-13.

               Q. I'm confused, Ms. Carroll. You stated in your testimony
               today that you received death threats daily, correct?
               A. Not daily, but often.

Trial tr. 232:15-17.

               Q. So all your death threats that you received that frightened
               you were in writing, is that correct?
               A. Yes.

Trial tr. 255:18-20.

        As set forth in the multiple trial transcript excerpts set forth above, Plaintiff has testified
that she received death threats on multiple occasions. Her receipt of these messages comprises a
significant portion of her claim for damages. Yet, while she claims that she received numerous
death threats, she did not provide any specific testimony concerning any of the purported threats
with the exception of those she claims to have received on June 21, 2019 and subsequently deleted.

       During cross-examination of Plaintiff, she admitted that there was a five-hour gap in
between when the article on The Cut was released and the time when President Trump made his
statement, as evidenced by the trial testimony below.

               Q. That was not my question, Ms. Carroll.
               There was time between when you put out The Cut article and
               when President Trump made this statement, is that correct?
               A. That is correct.
               Q. And if I told you that was about five hours, would that sound
               about right.




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                A. Yes.

Trial tr. 221:3-9.

        It is undisputed that there were malicious tweets directed at Plaintiff during this five-hour
period in between the release of the article on The Cut and when President Trump made his
statement. See Trial tr. at 283:14-293:20. As explained above, there also exists a substantial
likelihood that the death threats Plaintiff received on June 21, 2019—which she referenced in her
testimony and is part of her claim for emotional harm—were also sent during that five-hour
window. If that is the case, then Plaintiff’s entire claim for emotional harm is undermined because
it would show that Plaintiff was receiving death threats before President Trump ever spoke about
her. Therefore, Plaintiff cannot establish any causal link between the death threats and President
Trump’s statements, nor differentiate between whether they were attributable to the release of the
The Cut article.

        Plaintiff admitted to knowingly and repeatedly deleting e-mail messages containing death
threats. Plaintiff further admitted that all of the death threats that frightened her were transmitted
to her in writing. See Trial tr. at 255:15-17. Since Plaintiff clearly failed to preserve the e-mail
messages containing these purported death threats, in violation of Rule 37(e), it is impossible to
ascertain whether the messages existed at all, the time they were sent, and whether the contents
mirrored language in President Trump’s June 21 statement. As such, due to Plaintiff’s deletion of
pertinent evidence, a causal link cannot be established between the death threats and President
Trump’s denial.

        Accordingly, for the foregoing reasons, it is respectfully requested that any damages
claimed by Plaintiff due to death threats should be precluded by this Court. In addition, President
Trump asks that this Court strike any testimony from the record relating to death threats that
Plaintiff claims to have received and that the jury be instructed to disregard such testimony.

        C. Spoliation of Evidence Jury Charge

       In the alternative, President Trump requests, pursuant to Fed. R. Civ. P. 37(e)(2)(B), that
the Court include an adverse inference instruction against Plaintiff for her willing violation of her
discovery obligations.

         “[D]istrict courts have broad discretion in fashioning an appropriate sanction for a party’s
failure to produce documents in breach [of] its discovery obligations . . .” Bogosian v. All Am.
Concessions, No. 06-CV-1633 (RRM) (RML), 2011 U.S. Dist. LEXIS 109082, 2011 WL
4460362, at *7 n.4 (E.D.N.Y. Sept. 26, 2011); accord Residential Funding Corp. v. DeGeorge Fin.
Corp., 306 F.3d 99, 106-07 (2d Cir. 2002) (“Even in the absence of a discovery order, a court may
impose sanctions on a party for misconduct in discovery under its inherent power to manage its
own affairs.”); Reilly v. Natwest Markets Group Inc., 181 F.3d 253, 267 (2d Cir. 1999) (“Whether
exercising its inherent power, or acting pursuant to Rule 37, a district court has wide discretion in
sanctioning a party for discovery abuses.”). An adverse inference may be drawn if (1) the party
having control over the evidence had an obligation to timely produce it; (2) the party that failed to
timely produce the evidence had a culpable state of mind; and (3) the missing evidence is relevant



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to a claim or defense such that a reasonable trier of fact could find that it would support that claim
or defense. Residential Funding Corp., 306 F.3d at 107.

        As set forth at length above, Plaintiff has sole possession of the purported death threats she
received, and she knowingly and intentionally deleted them. This evidence is relevant to both
Plaintiff’s claim since it relates to the quantification of damages, as well as President Trump’s
defense since it pertains to the question of causation. Therefore, permitting an adverse inference
against Plaintiff is an appropriate sanction for Plaintiff’s deliberate attempts to circumvent the
discovery process, and her blatant violation of Rule 37(e).

        Specifically, a jury charge should be added instructing the jury that if they find that a party
intentionally failed to preserve electronic mail messages, then a negative inference may be drawn
against that party and the jury may presume that the electronic mail messages were unfavorable to
that party.

                                          *       *       *

        For the reasons set forth above, President Trump respectfully requests that: (i) a mistrial be
declared; (ii) Plaintiff be precluded from seeking damages relating to death threats purportedly
made to her and all testimony related to same be stricken from the record; or (iii) the Court include
an adverse inference charge against Plaintiff relating to her willful violation of her discovery
obligations and the spoliation of relevant evidence.


                                               Respectfully submitted,




                                               Alina Habba, Esq.
                                               For HABBA MADAIO & ASSOCIATES LLP

cc: All Counsel of Record (via ECF)




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